              Case 19-22332         Doc 2    Filed 03/20/19 Entered 03/20/19 12:35:10                         Desc Main
                                                                                                                    [ ] AMENDED
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                                           UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TENNESSEE
_________________________________________________________________________________________________________________

In re: DORCAS(1)
              LATESIA BENSON                                                                    Case No.

              (2)
Debtor(s).                                                                     Chapter 13
_________________________________________________________________________________________________________________

                                                CHAPTER 13 PLAN
_________________________________________________________________________________________________________________

             1555 Railton Rd.
ADDRESS: (1) ________________________________________                  (2)________________________________________________
             Memphis, TN 38111
             ________________________________________                     ________________________________________________

PLAN PAYMENT:

                          315.00
    DEBTOR (1) shall pay $______________      (   ) weekly, ( ✔ ) every two weeks, (   ) semi-monthly, or (   ) monthly, by:

                                          Allscripts, Attn: Payroll Dept.
       ( ✔ ) PAYROLL DEDUCTION from: ___________________________________________               OR ( ) DIRECT PAY.
                                          305 Church at North Hills St.
                                          ___________________________________________
                                          Raleigh, NC 27609
                                          ___________________________________________
    DEBTOR (2) shall pay $ ______________ ( ) weekly, ( ) every two weeks, ( ) semi-monthly, or ( ) monthly, by:

        ( ) PAYROLL DEDUCTION from: _______________________________________                                 OR    ( ) DIRECT PAY.
                                              _______________________________________
                                              _______________________________________
1. THIS PLAN [Rule 3015.1 Notice]:

   (A) CONTAINS A NON-STANDARD PROVISION. [See plan provision #19]                                               (     ) YES ( ✔ ) NO

   (B) LIMITS THE AMOUNT OF A SECURED CLAIM BASED ON A VALUATION OF THE                                          (    ✔)   YES (   ) NO
       COLLATERAL FOR THE CLAIM. [See plan provisions #7 and #8]

   (C) AVOIDS A SECURITY INTEREST OR LIEN. [See plan provision #12].                                             (     ) YES ( ✔ ) NO

2. ADMINISTRATIVE EXPENSES: Pay filing fee and Debtor(s)’ attorney fee pursuant to Confirmation Order.

3. AUTO INSURANCE: (        ) Included in Plan; OR ( ✔) Not included in Plan; Debtor(s) to provide proof of insurance at §341meeting.

4. DOMESTIC SUPPORT: Paid by: ( ) Debtor(s) directly, ( ) Wage Assignment, OR (             ) Trustee to:            Monthly Plan Payment:

   ____________________________________; ongoing payment begins _______________________                          $ ____________________
                       Approximate arrearage: ________________________________________                           $ ____________________
   ____________________________________; ongoing payment begins _______________________                          $ ____________________
                       Approximate arrearage: ________________________________________                           $ ____________________

5. PRIORITY CLAIMS:
   ___________________________________        Amount: ___________________________________                        $ ____________________
   ___________________________________        Amount: ___________________________________                        $ ____________________

6. HOME MORTGAGE CLAIMS: (              ) Paid directly by Debtor(s); OR ( ✔ ) Paid by Trustee to:

   ____________________________________; ongoing payment begins _______________________                          $ ____________________
                            Approximate arrearage: ________________ Interest ________________%                   $ ____________________
   ____________________________________; ongoing payment begins _______________________                          $ ____________________
                           Approximate arrearage: _________________ Interest ________________%                   $ ____________________
7. SECURED CLAIMS:
    [Retain lien 11 U.S.C. §1325 (a)(5)]            Value of Collateral:        Rate of Interest:                  Monthly Plan Payment:
     Chase Auto Finance(Protect Co-debtor)
    __________________________________               $19,000.00
                                                    _________________            5.00
                                                                                ______________%                    518.00
                                                                                                                 $ ___________________
    __________________________________              _________________           ______________%                  $ ___________________
    __________________________________              _________________           ______________%                  $ ___________________
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 8. SECURED AUTOMOBILE CLAIMS FOR DEBT INCURRED WITHIN 910 DAYS OF FILING, AND OTHER SECURED
   CLAIMS FOR DEBT INCURRED WITHIN ONE YEAR OF FILING:
    [Retain lien 11 U.S.C. §1325(a)]  Value of Collateral:                Rate of Interest:               Monthly Plan Payment:
   __________________________________ _________________                   ______________%               $ ___________________
   __________________________________ _________________                   ______________%               $ ___________________
   __________________________________ _________________                   ______________%               $ ___________________

9. SECURED CLAIMS FOR WHICH COLLATERAL WILL BE SURRENDERED; STAY IS TERMINATED UPON CONFIRMATION FOR
   FOR THE LIMITED PURPOSE OF GAINING POSSESSION AND COMMERCIALLY REASONABLE DISPOSAL OF COLLATERAL:
   ______________________________________ Collateral: __________________________________________________________________
   __________________________________          Collateral: ___________________________________________________________

10. SPECIAL CLASS UNSECURED CLAIMS:
                                               Amount:                     Rate of Interest:              Monthly Plan Payment:
   __________________________________          _________________           ______________%              $ ___________________
   __________________________________          _________________           ______________%              $ ___________________
   __________________________________          _________________           ______________%              $ ___________________

11. STUDENT LOAN CLAIMS AND OTHER LONG TERM CLAIMS:
    _______________________________________________ ( ) Not provided for                    OR ( ) General unsecured creditor
    _______________________________________________ ( ) Not provided for                    OR ( ) General unsecured creditor

12. THE JUDICIAL LIENS OR NON-POSSESSORY, NON-PURCHASE MONEY SECURITY INTEREST(S) HELD BY THE
    FOLLOWING CREDITORS ARE AVOIDED TO THE EXTENT ALLOWABLE PURSUANT TO 11 U.S.C.§522(f):
    ___________________________________________________________________________________________________________
    ___________________________________________________________________________________________________________

13. ABSENT A SPECIFIC COURT ORDER OTHERWISE, ALL TIMELY FILED CLAIMS, OTHER THAN THOSE
    SPECIFICALLY PROVIDED FOR ABOVE, SHALL BE PAID AS GENERAL UNSECURED CLAIMS.

                                              $20,417.68
14. ESTIMATED TOTAL GENERAL UNSECURED CLAIMS: ______________________.

15. THE PERCENTAGE TO BE PAID WITH RESPECT TO NON-PRIORITY, GENERAL UNSECURED CLAIMS IS:

    (   ) ________%, OR,

    ( ✔ ) THE TRUSTEE SHALL DETERMINE THE PERCENTAGE TO BE PAID AFTER THE PASSING OF THE FINAL BAR DATE.

16. THIS PLAN ASSUMES OR REJECTS EXECUTORY CONTRACTS:
     Mrs. Tucker
    __________________________________________________________________              (   ✔   ) Assumes   OR     (   ) Rejects.
    __________________________________________________________________              (       ) Assumes   OR     (   ) Rejects.

                                                                                 60
17. COMPLETION: Plan shall be completed upon payment of the above, approximately _________ months.

18. FAILURE TO TIMELY FILE A WRITTEN OBJECTION TO CONFIRMATION SHALL BE DEEMED ACCEPTANCE OF PLAN.

19. NON-STANDARD PROVISION(S):
    __________________________________________________________________________________________________________
    __________________________________________________________________________________________________________
    __________________________________________________________________________________________________________.

    ANY NON-STANDARD PROVISION STATED ELSEWHERE IS VOID.

20. CERTIFICATION: THIS PLAN CONTAINS NO NON-STANDARD PROVISIONS EXCEPT THOSE STATED IN
    PROVISION 19.




    /s/ Herbert D. Hurst
    _______________________________________________________________________       3/12/2019
                                                                            DATE: ________________________.
    Debtor(s)’ Attorney Signature or Pro Se Debtor(s)’ Signature(s)
